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                                         The Federal Government's Agricultural Health toy:
                                         A Critical Review with Sugg ested I mp rovements

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                                         ABSTRACT
                                            The Agricultural Health Study (AHS) has approximately 90,000 pesticide appli-
                                         cators and their spouses enrolled in a number of studies to determine whether
                                         exposures to specific pesticides are associated with various cancers and other ad-
                                         verse health outcomes. Although the AHS was intended to be an integrated pro-
                                         gram of studies, some significant. difficulties have emerged. In this report, we
                                         examine the design of the AHS, identify important program strengths and flaws,
                                         suggest various improvements in the pro         , and recommend ancillary studies
                                         that could be undertaken to strengthen the AHS.
                                           Overall, the AHS is collecting a large amount of information on potential deter-
                                         minants of health status among farmers and faun families. A promising feature of



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                             the AHS is the prospective cohort study of cancers among farmers in. which the
                             research design determines exposures prior to the diagnosis of disease. More effort
                             needs to be devoted to reducing selection bias and information bias. Success of the
                             cohort study will depend in part on follow-up surveys of the cohort to determine
                             how exposures and disease states change as the cohort ages. The cross-sectional and
                             case-control studies planned in the AHS are less promising because they will be
                             subject to some of the same criticisms, such as potentially biased and imprecise
                             exposure assessment, that have characterized the existing literature in this field.
                                 Important limitations of the AHS include low and variable rates of subject
                             response to administered surveys, concerns about the validity of some self-reported
                             non-cancer health outcomes, limited understanding of the reliability and validity of
                             self-reporting of chemical use, an insufficient program of biological monitoring to
                             validate the exposure surrogates employed in the AHS questionnaires, possible
                             confounding by unmeasured, nonchemical risk factors for disease, and the absence
                             of detailed plans for data analysis and interpretation that include explicit, a priori
                             hypotheses. Although the AHS is already well underway, most of these limitations
                             can be addressed by the investigators if adequate resources are made available. If
                             these limitations are not addressed, the large amounts of data generated in the AHS
                             will be difficult to interpret. If the exposure and health data can be validated, the
                             scientific value of the AHS should be substantial and enduring.
                                A variety of research recommendations are made to strengthen the AHS. They
                             include reliability and validity studies of farmer reporting of chemical use, biological
                             monitoring studies of farmers and members of farm families, and validity studies of
                             positive and negative self-reports of disease status. Both industry and government
                             should consider expanded research programs to strengthen the AHS.

                             Key Words: epidemiology, pesticides, farmworkers, health effects


                             INTRODUCTION
                                The Agricultural Health Study (AHS) was launched in 1993 by scientists at the
                             National Cancer Institute, the National Institute of Environmental Health Sciences,
                             and the Environmental Protection Agency. The primary impetus for the study is a
                             concern that exposures to chemicals on the farm, particularly certain fungicides,
                             insecticides, and herbicides, may be responsible for a variety of adverse health
                             effects, including cancer, neurological damage, reproductive problems, immuno-
                             logic defects, nonmalignant respiratory disease, kidney disease, and impairments to
                             the growth and development of children (Alavanja et al., 1996).
                                As a result of this concern, just over 90,000 farmers, commercial applicators of
                             farm chemicals, and their families in two states, Iowa and North Carolina, have been
                             enrolled in a long-term health study. Most of the data in the study are being
                             obtained from farmers through self-administered questionnaires and telephone
                             interviews. Numerous questions were already asked of enrollees regarding their
                             experiences as a farmer, their patterns of chemical use, their lifestyles, and their
                             current health status. For some diseases, such as. cancer, some of the future health
                             information about enrollees will be obtained from state-wide registries.




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                                             The AHS is not a single study. Although the population of primary interest is the
                                         farmers ("private applicators"), there will also be studies of the health of commercial
                                         applicators and the spouses and children of private applicators. The AHS includes
                                         studies with at least four different designs and makes use of a variety of data sources.
                                             First, the main prospective cohort study is expected to follow the 90,000 enrollees
                                         for many years or until death, to determine whether use of particular chemicals or
                                         other features of the farm environment and personal behavior are associated with
                                         poor health outcomes. This main study will not be completed until sufficient
                                         numbers of the cancers of interest have occurred or, ultimately, until most of the
                                         enrollees have died and the collected data on health outcomes have been fully
                                         analyzed. Interim reports on the cohort can be expected when the frequency of
                                         specific health problems supports a quantitative analysis of the factors associated
                                         with these health outcomes. An important design feature of the main cohort study
                                         is that much of the information op chemical use is obtained from farmers via survey
                                         methods prior to the diagnosis ofdisease. Although some enrollees had chronic diseases
                                         when they entered the study, the AHS investigators should consider analyzing the
                                         data with and without inclusion of these prevalent cases of disease.
                                             Second, cross-sectional studies are being undertaken to determine the preva-
                                         lence of certain noncancer health outcomes among farmers and farm families. The
                                         three initial cross-sectional studies are investigating (1) history of spontaneous
                                         abortion, menstrual function, and fertility in young women; (2) menopausal states,
                                         reproductive history, and selected chronic diseases in older women; and (3) neuro-
                                         logic symptoms and visual impairment in farmer-applicators. A cross-sectional de-
                                         sign entails comparing the prevalence of reported adverse health outcomes with the
                                         reported use of or exposure to specific chemicals. Telephone interviews of subsamples
                                         of the cohort are being used to compare those people who responded to take-home
                                         questionnaires and those who did not as well as to obtain the information to
                                         augment the cross-sectional studies of non-cancer health outcomes (Sandler, 1998).
                                             Third, nested case-control studies are planned for a variety of diseases including
                                         non-Hodgkin's lymphoma, leukemia , and cancers of the prostate, brain, ovary,
                                         breast, lung , colon, and stomach (Agricultural Health Study, 1993). Farmers in the
                                         cohort who develop a particular disease will be compared with controls selected
                                         from the cohort. Unlike the main cohort study, the nested case-control studies may
                                         entail obtaining some information from farmers or next of kin after a disease has
                                         been diagnosed. The investigators will examine whether cases report greater use of
                                         agricultural chemicals than selected controls. Cases and controls may also be invited
                                         to complete more detailed questionnaires aimed at obtaining a better understand-
                                         ing of possible differences in their exposure to a variety of farm and nonfarm.
                                         factors.
                                             Finally, some effort is being undertaken to determine how much farmers and
                                         their families have been exposed to selected chemicals. Biological monitoring,
                                         which typically entails the collection and analysis of urine and/or blood samples for
                                         multiple chemicals, is expensive. Biomonitoring was originally proposed to take
                                         place at 200 farms. Pilot studies found low participation rates (about 23%) and
                                         higher costs than anticipated and thus the program of exposure assessment has
                                         been scaled back. The current experimental design calls for samples to be gathered




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                            from people at 125 farms, but unexpected obstacles have surfaced in obtaining
                            funds for even this reduced program of biological monitoring.
                               The design and implementation of any research program as large and complex
                            as the AHS requires many tradeoffs and compromises. Not every analyst would make
                            the same choices, but on the whole we commend the AHS investigators for making
                            a variety of sound choices in the face of limited resources and a complex challenge.
                            As we emphasize below, we are particularly enthusiastic about the prospective
                            cohort study of cancer outcomes because it responds directly to some of the
                            methodological weaknesses of prior epidemiologic studies of farmers and pesti-
                            cides. Other aspects of the AHS, such as the cross-sectional studies of disease
                            prevalence, have serious problems. In this report we focus on what the strengths and
                            limitations of the various AHS studies are, how the AHS can be improved, and what
                            steps can be taken by the government and industry to enhance what is being done
                            in the     S through complementary efforts.
                               Information about the        S used in this review was obtained primarily from
                            publicly available documents and information presented at the AHS's annual public
                            Advisory Panel meetings.' We recognize that more detailed plans may have been
                            made but are not publicly distributed. Although the cohort has already been
                            defined and enrolled in the study, numerous decisions have yet to be made about
                            how the data will be analyzed and how future surveys of the cohort will be refined
                            and improved. Thus, the emphasis in our report is on two issues: those that can be
                            addressed by the principal investigators of the      S through expansions or modifi-
                            cations of the workplan and those that need to be understood as inherent limita-
                            tions when the findings of studies are published and disseminated.
                               The report is organized as follows. Section 1 addresses "Data Sources, Response
                            Rates and Data Quality". Sections 2 and 3 address "Pesticide Exposure" and "Pesti-
                            cide Use", respectively. Section 4 examines "Risk Factors Other Than Pesticides". In
                            Sections 5 and 6 we examine the "Study Design Issues" and "Data Analysis Plans".
                            Section 7 summarizes our recommendations on how the study can be improved and
                            what additional studies can be undertaken to advance the field.


                             DATA SOURCES, RESPONSE RATES, AND DATA QUALITY
                                The AHS includes four types of data that could play important roles in epidemio-
                             logic analyses: health outcome data, pesticide use and exposure data, and data on
                             potential confounders (risk factors) for disease. In this section, possible limitations
                             in the scope or quality of each type of,data are identified, and we present some
                             suggestions aimed at enhancing data quality. Since most of the data used in the
                             study are based on surveys of farmers and members of farm families, we begin with
                             a discussion of the response rates obtained for the AHS questionnaires (Tarone et
                             aL, 1997).

                            Response Rates to Questio nnaires
                               The target population for the AHS is all persons required by the states of Iowa
                            .and North Carolina to obtain a pesticide applicator license. This includes "private"




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                                         applicators (farmers) and "commercial" applicators. Both states require periodic re-
                                         training to maintain a license for either type of pesticide applicator. The enrollment
                                         questionnaire was given to all attendees at training courses in the two states over a
                                         3-year period. A 3-year cycle for licenses assured that all users had a chance to enroll.
                                         In January, 1997, enrollment through training classes was completed.
                                             Not all applicators at training sessions agreed to participate. Some special recruit-
                                         ment efforts were undertaken to increase participation rates. In Iowa, the response
                                         rate for the enrollment questionnaire was 81.9% for private applicators and 42.2%
                                         for commercial applicators. In North Carolina, 84.8% of private applicators en-
                                         rolled and the study design did not include commercial applicators. Overall, enroll-
                                         ment questionnaire data are available from about 53,000 private applicators and
                                         5,000 commercial applicators (out of about 76,000 possible). Questionnaire data
                                         have also been collected from about 32,000 spouses of farmers (about 73% of those
                                         eligible) .2
                                            After pesticide applicators filled out the enrollment questionnaire at the training
                                         session, they were given three supplemental questionnaires (applicator; spouse;
                                         female and family health) to complete at home and return. The AHS uses the
                                         supplemental questionnaires to enroll spouses and other family members. The
                                         response rates for the supplemental questionnaires are low. Overall, about 44% of
                                         enrolled applicators completed and returned the additional questionnaire (33.5% of
                                         all eligible applicators). The Spouse Questionnaire, or a telephone administered
                                         version, was completed by 73% of eligible spouses. The Female/Family Health
                                         questionnaire was returned by about 39% of female applicators or spouses of
                                         enrolled farmers (64.6% of enrolled spouses).
                                            The questionnaires are the primary source of data for the AHS. The enrollment
                                         questionnaire, which is used to define membership in the cohort, gathers personal
                                         identifiers on the applicator and his or her spouse. It also asks about work on and
                                         off of the farm, frequency of use of 22 pesticide compounds (e.g., ever/never used
                                         and frequency of application) and ever/never used information on 28 more, one
                                         question about application methods and another about protective equipment,
                                         whether a doctor has ever diagnosed any of 16 diseases, and several questions on
                                         some lifestyle activities (including smoking) and the specific crops or livestock
                                         raised on the farm. These data are available for all applicators in the cohort except
                                         when there are missing responses.
                                             The supplemental questionnaires are intended to gather more detailed informa-
                                          tion from the applicator and his or her spouse about pesticide use, family history of
                                          cancer, personal history of infectious and chronic diseases, over-the-counter medi-
                                          cine use, and diet. The Spouse Questionnaire, for the wife or husband of the
                                          applicator, asks for information about pesticide use and farm activities, along with
                                          information about factors such as laundering and vacuuming and. information
                                          about the home that might influence pesticide exposure. Information about dietary
                                          and cooking practices is also collected. A self-reported medical history elicited from
                                          each subject includes about 55 diseases or disease symptoms. The Female and
                                          Family Health questionnaire is intended for female applicators or female spouses of
                                          pesticide applicators. This questionnaire collects information about the woman's
                                          reproductive cycle, pregnancies, and children. Identifiers, birthwe.ight, nursing
                                          history, and whether the child ever worked on a farm are recorded for each child.



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                                The low and variable response rates to the supplemental questionnaires seriously
                             affect the quality of the AHS. Steps have been taken to increase response rates but
                             the rate of non-response remains substantial. We encourage more efforts to increase
                             the response rate, to reduce the potential for selection bias and increase statistical
                             power. An evaluation of the potential for selection bias to influence risk estimates
                             should be undertaken.
                                 In the prospective cohort study, low response rates to questionnaires designed to
                             obtain information on subject identifiers , exposures , and baseline disease status will
                             clearly diminish statistical power and may create bias. The success of the cohort
                             study also depends upon acceptable response rates to future follow-up surveys of the
                             cohort. Periodic follow-up surveys are necessary to determine how exposures and
                             disease states change as the cohort ages, thereby maintaining the prospective
                             character of the study . If low response rates occur with the follow-up questionnaires,
                             the potential for bias will increase , partly from misclassification of subjects (and
                             personyears ) with regard to chemical exposure and partly from residual confound-
                             ing stemming from inaccurate measurement of risk factors other than pesticides.
                             According to the AHS protocol (Agricultural Health Study, 1993 ), follow-up ques-
                             tionnaires will be administered every 5 years. Since no follow-up has yet been
                             administered, response rates are unknown.
                                 Selection bias should be reduced in the prospective cohort study if persons who
                             already have the disease ( s) of interest are identified and excluded from the cohort
                             at the beginning. Identification of diseases diagnosed at the time of enrollment into
                             the cohort may be done well for conditions, such as some cancers, that have an easily
                             defined point of diagnosis but is more difficult for certain neurological conditions
                             and for renal , respiratory , and cardiovascular diseases . For instance , bias will occur
                             if persons who are at risk of cancer and are exposed are more likely to participate
                             by returning questionnaires. There are plans for cohort studies of kidney, neuro-
                             logic, respiratory and cardiovascular disease that might be biased by the erroneous
                             inclusion of subjects with disease onset before enrollment, if the probability of study
                             participation depends on exposure status. Furthermore, if response rates are low for
                             questionnaires designed to obtain information on medical conditions occurring
                             during the follow-up period, the likelihood of bias is high.
                                 In-cross-sectional and case-control studies, low response rates have most of the
                             same potentially detrimental effects on precision and accuracy as mentioned above.
                             In addition, poor response raises the likelihood that selection bias will occur
                             because it is likely that participation will depend both on exposure status and on
                             "disease" status in a manner that could bias estimates of prevalence ratios or odds
                             ratios ( e.g., through underrepresentation of exposed persons without disease).

                             Health Outcomes
                                Accurate ascertainment of the presence or absence of disease among farmers and
                             members of farm families is.critical to the success of the AHS. Some of the diseases
                             of interest in the study are relatively 'rare and only a small number of cases of these
                             diseases can be expected. Thus, it is appropriate to consider the quality of the.
                             health-outcome data being collected in the AHS, looking at the potential for both
                             false-positive and false-negative errors.




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                                         Cancer
                                            The statewide cancer registries in Iowa and North Carolina will be used by the
                                         AHS investigators to determine which subjects develop various types of cancer. The
                                         Iowa registry is well established and is believed to provide accurate and reasonably
                                         complete data on incidence of cancer in the state. The North Carolina registry is
                                         newer but should provide data of sufficient accuracy.
                                            Use of the cancer registries will be hampered if personal identifiers such as name,
                                         birth date, Social Security number, and gender are not available from both the
                                         cancer registries and the AHS cohort. Such identifiers are critical to linking subjects
                                         in the AHS cohort to registry records. In February 1997 it was reported that in Iowa
                                         the four identifiers mentioned above were available for 94.0% of commercial
                                         applicators, 86.3% of private applicators, and 53.4% of enrolled spouses of married
                                         private applicators. In North Carolina the four identifiers were available for 86.6%
                                         of private applicators and 76.5% of spouses. Linkage with registries may be accept-
                                         able with current identifiers but AHS investigators are making efforts to increase the
                                         completeness and quality of data needed for record linkage. There are other ways
                                         to determine whether enrollees have developed cancer, but they are generally more
                                         expensive.

                                         Non-Cancer Health Outcomes
                                             Mortality from kidney, neurologic, respiratory, cardiovascular, and other diseases
                                         can also be assessed through objective measures that do not entail self-reporting by
                                         subjects in the cohort. For example, mortality from specific causes can be monitored
                                         through periodic follow-up through the National Death Index and state and local
                                         vital statistics records. Yet even for data from objective sources, potential validity
                                         problems need to be identified and addressed.
                                            In order to accelerate the opportunity to cover a wide range of non-cancer
                                         outcomes, the AHS relies on self-reporting of health states by farmers and members
                                         of farm families on both the enrollment and supplemental questionnaires. The self-
                                         reporting occurs either through return of written questionnaires or responses to
                                         telephone interviews. Telephone surveys of special subgroups of the cohort are
                                         being employed to reduce the potential for selection bias in the cross-sectional
                                         studies, but it is possible for a modest amount of selection bias to have a substantial
                                         effect on results. Diseases of particular interest to the AHS investigators include
                                         kidney disease, neurotoxicity and neurological disease, reproductive and develop-
                                         mental impairments, and immunologic effects. Several questions ask about possible
                                         acute toxicity episodes associated with pesticide use.
                                             Section IV of the main enrollment questionnaire has two questions regarding
                                         health. Question #28 inquires whether "a doctor has ever told you that you had any
                                         of the following conditions": A list of 16 conditions is supplied (asthma, tuberculo-
                                         sis, other chronic lung disease, pneumonia, melanoma of skin, other skin cancer,
                                         leukemia, Hodgkin's disease, non-Hodgkin's lymphoma, other cancer, heart dis-
                                         ease, diabetes, Parkinson's disease, kidney disease, nervous disorder, and depres-
                                         sion), each to be answered yes or no. For the cancer outcomes, it will ultimately be




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                              feasible to compare the self-reports of subjects to the data obtained through the
                              statewide cancer registries. A strategy for addressing discordant data is needed.
                                  Question #29 inquires whether "your parents, brothers, sisters, or children re-
                              lated to you by blood ever had any of the following?" A list of 14 conditions is
                              supplied, again with yes or no responses. If the subject has multiple blood relatives,
                              the implicit understanding is that the question refers to any of them.
                                  In addition to these questions about diseases, questions #14 and #15 provide
                              additional information about acute health effects that may be related to pesticides.
                              These questions do not ask about a medical diagnosis, and no effort is being made
                              to validate the answers.
                                  Question #14 asks "How often, if ever, have you had the following symptoms that
                              you think may be related to your using pesticides?" There are seven listed symptoms:
                              "been excessively tired", "had headaches/dizziness ", "had nausea or vomiting", "had
                              skin irritation", "had eye irritation", "had chest discomfort", and "felt nervous or
                              depressed". For each symptom, the respondent is asked to respond on a scale of
                              never/rarely, sometimes, frequently, almost always. This set of questions seems to
                              combine elements of symptom frequency and causal attribution. It is not clear how
                              the respondent is expected to judge whether such symptoms were "related to your
                              using pesticides" unless the effects were immediate and unambiguous. It may be
                              preferable to ask separate questions about the frequency of these symptoms and the
                              respondent's view about whether they are associated with pesticide use, although
                              questions about validity might remain. It is also not clear what would be meant by
                              "frequently/almost always", since no frequency context is suggested to the respon-
                              dent. The response may represent symptom frequency in absolute terms or as a
                              percentage of the total number of pesticide applications. Given the ambiguous
                              nature of this question, the meaning of the information that is elicited will be
                              uncertain.
                                  Question #15 asks subjects: "As a result of USING PESTICIDES (emphasis in
                              original), how often have you: a. seen a doctor, b. been hospitalized." The possible
                              responses are never, once, twice, or three or more times. Again, this question
                              presumes that the respondent knows something about the causative role of pesti-
                              cides in particular situations, perhaps because he or she experiences unusual
                              symptoms in short order after the chemical is applied. Some visits may be after
                              exposure but before symptoms appear. In ambiguous situations involving common
                              symptoms and longer time lags, the respondent may not realize that the chemical
                              exposure was responsible for the symptom or may attribute to the chemical a
                              symptom that was not caused by the exposure. If the question is intended to provide
                              a surrogate measure of exposure to chemicals, it needs to be used with caution if it
                              is used at all.
                                 Although there is limited information on noncancer health outcomes in the
                              main enrollment questionnaire, the supplemental questionnaire includes a fairly
                              detailed self-reported "medical history" from each subject. The low overall rate of
                              response to the- supplemental questionnaire , despite efforts to increase response,
                              will prevent full understanding of the cohort's exposure and health states.
                                  Questions #87 through #102 in the supplemental questionnaire ask about numer-
                              ous aspects of the applicator's health status. For example, Question #87 asks about




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                                         each of 41 listed diagnoses (i.e., whether a doctor has ever told the subject that he
                                         or she has that condition). Question #90 asks how frequently, during the last 12
                                         months, the subject has experienced each in a list of 23 symptoms ranging from
                                         dizziness and headaches to feeling tense or depressed . Questions #96 through #102
                                         focus on the respondent ' s vision and use of eyeglasses . Responses to these questions
                                         need to be validated.
                                            It may be that any biases will cancel out because potential cases and non-cases
                                         interpret questions in roughly the same manner, as may be expected in a prospec-
                                         tive cohort study, but it will be very difficult to know for sure the overall or net
                                         impact of any resulting biases.
                                            Applicators who are women , and the spouses of male applicators , are also asked
                                         to complete a "Female and Family Health Questionnaire " that includes numerous
                                         questions on the subject ' s reproductive and pregnancy history, and about the health
                                         status of children . The AHS is also using a specialized "Women ' s Health Question-
                                         naire " and a separate "Young Women ' s Health Questionnaire " to obtain specific
                                         pesticide use information and more detailed health information on subgroups of
                                         women who have enrolled in AHS . The former questionnaire has a special section
                                         on menopause while the latter questionnaire emphasizes menstrual functioning
                                         and. pregnancy history.
                                            Epidemiologists do not expect perfect concordance between self-reports and
                                         medical records . Although subjects may supply inaccurate data, medical records are
                                         themselves not free from error. The accuracy of self-reports presumably vary by type
                                         of health endpoint, questionnaire design , period of recall , and population studied.
                                         For many reproductive endpoints , the results of reliability and validity studies are
                                         reassuring , while for others there is concern ( Bean et at, 1979 ; Wilcox and Homey,
                                         1984 ; Olson et at , 1997). For some endpoints, such as menstrual function, there is
                                         no practicable gold-standard to compare with self-reports . It is important for the
                                         investigators to address how they will incorporate uncertainty about self-reports into
                                         their analyses and interpretation of results.
                                            The AHS is collecting a large amount of self-reported health information on non-
                                         cancer health outcomes . Most of the specific questions on non-cancer health out-
                                         comes used in the questionnaires have not been assessed for validity or reliability
                                         and there appear to be no plans to initiate such studies by the AHS team. Appar-
                                         ently, follow-up questionnaires will not repeat questions about past health out-
                                         comes, preventing assessment of reliability. Some of these questions have already
                                         been used in previous studies and may have been subjected to some reliability and
                                         validity checks but study context can influence responses. More such studies would
                                         help users understand the quality of the non-cancer outcome information that will
                                         be analyzed in the AHS. It is crucial that reports of both the presence and absence
                                         of specific outcomes be validated in order to ascertain false-positive and false-
                                         negative errors.
                                            Bias can occur when subjects know the . purpose of a study and when they also
                                         know their exposure status and disease status . For example, "exposed " subjects (e.g.,
                                         heavy users of chemicals) with disease may be more willing to participate in the AHS
                                         cross-sectional studies than nonexposed subjects who also have the same disease.
                                         The prospective cohort design provides an important protection against such bias,




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                             as long as a subject's exposure truly precedes the onset or diagnosis of the disease
                             being investigated. The prospective cohort study also provides a good opportunity
                             to obtain valid information on exposure and disease status. This strength may be
                             enhanced through various analyses designed to detect and diminish information
                             bias and other problems with the AHS data. It would probably be necessary to gather
                             additional data to support such methodological substudies. It is preferable to
                             minimize the potential for bias by obtaining valid information from all subjects.


                             PESTICIDE EXPOSURE
                                Although the primary goal of the AHS is to assess the relationship between
                             human exposure to pesticides and a variety of adverse health outcomes, direct
                             measurement of human exposure to pesticides will be limited by cost consider-
                             ations. Most of the analyses will be based on surrogates for exposure.
                                As of early 1998 , the U. S. USEPA team planned to select a sample of 125 farms
                             and evaluate total exposure for several chemicals through measurement of environ-
                             mental media , personal exposure ( e.g., through patches on clothing ), and samples
                             of urine and blood , taken soon after application. These samples will then be
                             analyzed for a limited number of chemicals of greatest interest. Unexpected fund-
                             ing problems may prevent implementation of USEPA's plan.
                                Since no direct measures of pesticide exposure will be available on most of the
                             90,000 members of the AHS cohort, the investigators will rely primarily or exclu-
                             sively on surrogates for pesticide exposure derived from the questionnaires admin-
                             istered to farmers and members of farm families. For example , previous studies have
                             considered as surrogate factors such measures as frequency of application per year,
                             number of years of application, and application practices that may be related to
                             exposure ( e.g., method of application and type of protective equipment used)
                             (Hoar et aL , 1986 ; Zahm et al., 1990 ). It is not known how well any of these surrogates
                             indicate biologically significant exposures or whether any is appropriate . A case can
                             be made that exposure surrogates should be validated before initiating a major
                             epidemiologic study, or at least before exposure-response analyses are undertaken.
                                A key goal of the USEPA portion of the AHS is calibration of reported work
                             practices with actual farmer exposures , using the information obtained from the
                             measurements gathered on the sample of farms. Ideally , this information would
                             allow at least a ranking of exposure potential by method of application and protec-
                             tive equipment used . For example , some pesticides are formulated as liquids, and
                             gloves may provide a great deal of protection . Others are formulated as dusts or
                             sprays and thus gloves may make little difference , while a respirator or mask may
                             greatly reduce exposure . Still others are large granules and neither type of protec-
                             tive equipment may have much influence on exposure.
                                Because of its limited size, the USEPA study is unlikely to provide a rigorous
                             validation of the numerous exposure surrogates derived from the AHS question-
                             naire data. A larger sample of farms, pesticides , and work practices would be useful
                             in validating the surrogates against the background of other significant determi-
                             nants of exposure such as the subject ' s age and role in pesticide use. There are also




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                                         questions about the representativeness of sampled farms. The USEPA has had
                                         difficulty obtaining the participation of farmers. In a pilot study in North Carolina,
                                         fewer than 10% of farmers asked agreed to participate (U.S. Environmental Protec-
                                         tion Agency, 1997). It seems unlikely that the farmers who agree to participate will
                                         be representative of all of the farmers in the AHS. The timing of the USEPA
                                         exposure study is also a source of concern. USEPA's exposure study is just getting
                                         underway but the AHS enrollment questionnaires have already been administered
                                         to the 90,000 enrollees. If the USEPA study raises questions about the validity of the
                                         exposure surrogates contained in the enrollment questionnaire, the data that have
                                         already been collected from farmers on work practices will be of diminished utility.
                                         If done in a timely fashion, it may be feasible to revise future follow-up question-
                                         naires in a way that will benefit from the insights generated from the USEPA's
                                         exposure study.
                                            Previous studies have relied on the assumption that total lifetime exposure to one
                                         or more pesticides is determined by annual frequency of application and number
                                         of years of application. Although this assumption may seem logical, there is no plan
                                         to validate it. It is possible that those farmers who apply pesticides frequently and
                                         have done so for many years do so with particular experience and care, which might
                                         suggest that their absorbed dose per application is less than the exposure of farmers
                                         who apply chemicals less frequently or have fewer years of experience in farming.
                                         Of course, bias may also run in the opposite direction if some applicators become
                                         careless or even contemptuous of risks as the substances and application practices
                                         become familiar. A particular task, such as mixing, may lead to much greater
                                         exposure than frequent application. If rare but serious mishaps or spills have a
                                         powerful influence on total lifetime exposure, number of applications may be a
                                         poor surrogate for total exposure, since the probability of mishap/spill may be
                                         smaller among high-frequency applicators. The USEPA study may not be large
                                         enough to detect these rare yet serious incidents. Thus, it is not obvious that total
                                         exposure to pesticides in a farmer's lifetime, on average, will be a straightforward
                                         multiple of the number of applications in a farmer's lifetime.
                                            The use of inappropriate or imperfect exposure surrogates may compromise the
                                         validity of the study by producing erroneous measures of association. Errors due to
                                         misclassification can produce bias toward the null (attenuation of the magnitude of
                                         a true positive or inverse association) or bias away from the null (exaggeration of the
                                         strength of a true weak or true null association). In large prospective follow-up
                                         studies of relatively common exposures and diseases, exposure misclassification
                                         tends to be nondifferential with regard to disease status. Nondifferential exposure
                                         misclassification will produce bias toward the null if exposure is classified dichbto-
                                         mously (e.g., exposed vs. unexposed, high vs. low exposure). If more than two
                                         categories of exposure are evaluated, however, nondifferential misclassification has
                                         an unpredictable impact and can produce bias away from the null (Correa-Villasenor,
                                         A., Stewart, W. F., Franco-Marina, F., and Seacat H. (1995); Thomas, 1995). In small
                                         studies or studies in which exposure is rare or disease rates are low, the impact of
                                         misclassification, again, is unpredictable. There is no guarantee that exposure
                                         misclassification will be nondifferential even if objective exposure assessment pro-




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                             cedures are used. Misclassification will reduce the power of the study to detect any
                             genuine cause-effect relationships and will also reduce the validity of findings.
                             Reductions in power are a serious issue because they will undermine the ability of
                             government and industry to regulate harmful exposures and to reassure farmers
                             with "negative" results.
                                Biomonitoring studies of farmers who mix and apply pesticides with different
                             frequencies might help resolve this matter, but such studies would need to be large
                             in size and would be logistically complex. Such studies may induce behavioral
                             changes (e.g., extra safety precautions) on the part of some farmers that are not
                             typical of their normal behavior.
                                Although it will be difficult to validate whether number of applications is a strong
                             predictor of total exposure, it may be more feasible to study the impact of work
                             practices and method of application on the amount of actual pesticide exposure. A
                             farmer's personal habits can have an enormous influence on pesticide dose, as
                             measured by urinary excretion, even when the same protective equipment is used
                             (Lavy, Walstad, Flynn, and Mattice, 1982; Forbess et al., 1982; Leng, Ramsey, Braun,
                             and Lavy, 1982). It will be difficult to characterize this source of variability in the
                             small sample of farmers being evaluated by the USEPA. Broader studies of the type
                             planned by the USEPA, with a focus on the AHS pesticides and work practice and
                             protective equipment questions, would be very useful. Some information on the role
                             of work practices and protective equipment is already available in USEPA's Pesticide
                             Use Handlers Database and our understanding is that the AHS investigators have
                             begun to exploit this source of data. We encourage more efforts in this direction.
                             The Department of Defense has conducted large programs of research on the
                             efficiency, safety, and comfort of protective gear, and some of the results (e.g., points
                             of leakage or tolerance by the protected person) may be directly applicable to
                             pesticide applicators.
                                 There are also practical and technical concerns associated with any urine
                             biomonitoring program. The USEPA investigators are aware of many potential
                             pitfalls but still may have difficulty dealing with them. One of the biggest problems
                             is time . If a pesticide is rapidly excreted, measurements must be made quickly after
                             a single application to be useful for exposure assessment . If, however, the material
                             is cleared slowly from the body, the amount of the chemical measured in urine will
                             be highly dependent on the frequency of applications and the time interval between
                             applications. There are significant differences in pharmacokinetics across com-
                             pounds that will influence the relationship between frequency/pattern of use and
                             exposure. Thus, a serious biomonitoring program must have a protocol that tailors
                             the measurement regime to the behavior of the compounds under study. Yet the
                             USEPA plans to sample only a fraction (perhaps as few as 10) of the 50+ chemicals
                             being assessed in the AHS, and funding obstacles are jeopardizing even this modest
                             level of effort.
                                 Another key assumption of the AHS is that exposure of farm family members to
                             pesticides is associated with the farmer ' s patterns and frequencies of use . Little is
                             known about the nature of this relationship or how it varies for different compounds
                             and farm types (Lowenherz et aL, 1997). The existing studies are small in size and
                             are quite limited in the number and type of pesticides evaluated . Assuming partici-




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                                         pation obstacles can be overcome, biomonitoring could be used productively to
                                         better understand the presence and magnitude of indirect exposures to farm
                                         families that are assumed in the Spouse Questionnaire and the Female and Family
                                         Health Questionnaire. USEPA has limited plans in this area that will need to be
                                         expanded considerably if they are to be useful in the AHS.
                                            The NCI also plans a biomarker component, collecting buccal DNA samples
                                         from a subsample of the AHS cohort, to store for later analysis of genetic polymor-
                                         phisms potentially related to susceptibility to pesticide-induced disease. Although
                                         this effort is of considerable scientific interest, it is not likely to assist in validation
                                         of the exposure surrogates to be used in epidemiologic analyses.
                                            In general, a major limitation of the current design of the AHS study is that so
                                         few direct measurements of human exposure to chemicals will be available. The
                                         information that USEPA plans to collect may be useful in its own right but, for the
                                         reasons stated above, is not likely to be as useful as it could be for use in the
                                         epidemiologic analyses to be performed in the AHS. Pesticide exposure studies that
                                         are linked to epidemiologic investigations are urgently needed if a major advance
                                         is to be made in our understanding of the relationship between pesticides and
                                         human disease. The significant cost associated with such an effort is noted, but the
                                         scientific value of this major epidemiologic study is questionable without a valid
                                         exposure assessment.


                                         PESTICIDE USE
                                            In the AHS, the questionnaires filled out by subjects elicit information on various
                                         aspects of pesticide use rather than on exposure directly. This approach is sensible
                                         because the respondent is in a better position to report accurate information on
                                         whether and how a chemical is used than information on the amount of exposure
                                         to chemicals. However, there are still serious questions about the quality of the
                                         pesticide use data that are being collected in the AHS. Since these data are likely to
                                         be critical to the interpretation of the epidemiologic analyses, the associated quality
                                         concerns need to be considered carefully.
                                            In the AHS enrollment questionnaire, the primary questions (Qo, #11AD) ask:
                                         "During your lifetime have you ever personally mixed or applied this pesticide?; how
                                         many years did you mix or apply this pesticide?; in an average year when you
                                         personally used this pesticide, how many days did you use it?; and when did you first
                                         personally use this pesticide?" (Paraphrased). These questions are posed for 22
                                         named pesticides. For an additional 28 compounds, there is a simple question about
                                         whether that pesticide had ever been used.
                                            In order to answer these questions, respondents must remember with some
                                         accuracy when they first used *products and their frequency of use of each pesticide
                                         product, and they must be able to compute averages in their head involving multiple
                                         years of use. For older subjects who have many years of farm experience , accurate
                                         responses will be difficult to supply. Moreover, some pesticides are sold and applied
                                         as mixtures and thus the exact ingredients may not be known to farmers. It can
                                         reasonably be expected that there will be inaccuracies in these data.




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                                 In the AHS enrollment questionnaire, there are two important questions about
                             work practices. Question 16 asks: "how do you personally apply pesticides?" The
                             offered answers include 20 options that are not differentiated by livestock or crop
                             farming, by specific crop, or by pesticide used. Question 17 asks "what type of
                             protective equipment do you generally wear when you personally handle pesti-
                             cides?" The offered answers include 8 options, again making no distinction between
                             farm types or pesticides used. Since most farmers will have had different practices
                             for different crops or pesticide products, it is not clear how they will answer these
                             questions in a meaningful way since multiple answers do not appear to be allowed.
                                 There are, of course, real concerns about the ability of farmers to recall use of
                             specific pesticides, let alone their frequency of use, when confronted with a long list
                             of compounds. Many farmers know pesticides by trade names, not technical names.
                             The AHS questionnaires list some trade names for all chemicals but the list is not
                             exhaustive. In addition, farmers now often use formulations that contain several
                             pesticides. A respondent who knows only one of the compounds or trade names
                             could underreport the use of other pesticides in the mixture. Errors of recall may
                             occur differentially between controls and diseased persons.
                                 Due to a change in enrollment procedures, the AHS investigators do have
                             duplicate enrollment questionnaires from 1223 applicators from Iowa (Alavanja,
                              1998). Reliability was reported as both the percent agreement (the fraction of
                             applicators giving the identical answer to a question on both questionnaires) and
                             kappa statistic, often used as a measure of reliability. For example, smoking had an
                             agreement of about 90% and a kappa of 0.88. Reports of ever/never use of specific
                             pesticides had agreement around 80% with kappas around 0.60. The agreement of
                             frequency of use questions was not reported. Some questions, especially those about
                             vegetable and fruit consumption, had quite low agreements (30 to 40%) and kappas
                              (about 0.50). Of course, this analysis does not address the validity of the responses.
                              It may be useful to include some more important use questions on future follow-up
                              surveys to gauge reliability in the whole cohort.
                                  A weakness of the AHS is that adequate information is not being collected on
                              excipients such as solvents, stabilizers, diluting agents, preservatives and other
                              chemical substances that are used with pesticide products. Confusion may occur
                              about whether reported health effects are attributable to active ingredients or
                              excipients. For regulators and firms interested in the design of pesticide products,
                              it is crucial to know what precisely is causing a reported health effect.
                                  There is no reason to believe that large numbers of subjects were deliberately
                              dishonest in the enrollment questionnaire about their patterns of pesticide use.
                              However, the questions about use of protective. equipment. may have induced some
                              "socially desirable" but inaccurate answers, especially when questionnaires were
                              administered at training sessions. It is also quite possible that pesticide products
                              near the bottom of the lists of 22 and 28 were checked less frequently by respondents
                              who became weary filling out this rather arduous aspect of the questionnaire. This
                              problem could be smoothed out in the future follow-up surveys by rotating the order
                              of the products.
                                  A study of the magnitude of the AHS requires good understanding of the validity
                              and reliability of each major data set. The AHS'will obtain pesticide use data from




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                                         responses to a written questionnaire of farmers. Data will be collected both at the
                                         beginning of the study and with follow-up questionnaires of unspecified frequency,
                                         for either the whole cohort or a select subsample, in later years. On the subject of
                                         validity, purchase records have been used in the past to ascertain whether written
                                         answers to a "yes/no" question on use of specific products are accurate. One study
                                         reported a 60% agreement rate between purchase records and reported use of
                                         specific products (yes/no) (Blair and Zahm, 1993). Agreement between farmer's
                                         recall of years of use and the records of their suppliers ranged from 38% to 68%
                                         depending on type of pesticide and crop. Measures of frequency of use in a year
                                         have never been subjected to a validation study.
                                             When social scientists find it difficult to validate questionnaire data, it is typical
                                         to at least conduct reliability studies, such as repeated administrations of the same
                                         (or similar) questionnaire(s) to respondents, to determine whether answers to the
                                         same question are stable. Few reliability studies of self-reported pesticide use,
                                         particularly the quantitative responses , have been published in the literature (Johnson
                                         et aL , 1993). In addition, since reliability is influenced by the particular wording of
                                         questions and response choices, there probably would be limited generalizability
                                         from reliability studies of other questionnaires.
                                             The questions of reliability and validity regarding the reported data could be
                                         addressed in several ways. In addition to the small study already mentioned, a
                                         comparison of the responses of farmers to selected questions that have been in-
                                         cluded on both the enrollment and supplemental questionnaires will provide some
                                         ideas about reliability. Studies comparing self-reported use to purchase records for
                                         a subsample of the AHS farmers could provide an idea of the validity of self-reported
                                         use estimates. Even if recent purchase data can be obtained, it is likely that purchase
                                         records for earlier years will be less complete. Thus, it will be more difficult to verify
                                         the accuracy of self-reports of pesticide use in the past. Another opportunity to
                                         check self-reports might come from the Extension Service recommendations for
                                         each crop in Iowa and North Carolina. Consistency between self-reports and the
                                         recommendations of the Extension Service is one possible measure of accuracy.
                                         However, if such recommendations are widely known, farmers may be reluctant to
                                         report actual use patterns that deviate significantly from these recommendations.
                                            The chemicals, formulations, and application methods used on farms have changed
                                         significantly over time. Herbicides once applied at rates of pounds of active ingre-
                                         dient per acre are now applied in ounces per acre. Formulations have been devel-
                                         oped to reduce exposure by making the pesticide in large granules or as packets that
                                         are dropped into an application tank, with no need for mixing or loading. These
                                         changes in patterns of pesticide use mean that data gathered about farming practice
                                         today are not a valid reflection of what was done in the past. The amount of
                                         exposure per application is probably smaller today than it was years ago, further
                                         complicating any calculation of cumulative exposure. _.
                                            These details are important because if pesticides cause chronic diseases. such as.
                                         cancer and neurological disease, the biologically meaningful measure of exposure
                                         may be a cumulative dose figure that. accounts for farming practices years or even
                                         decades ago. For chronic diseases diagnosed over the next 5 years or so, the
                                         exposure of interest probably occurred many years ago: Yet information about




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                            changes in farming practices over time is not being gathered in the AHS. In
                            addition, the extent of pesticide use information to be collected in follow-up surveys
                            of the cohort is not clear. If most of the pesticide use assessment in the AHS proves
                            to be retrospective, the AHS will have little advantage over previous studies.


                            RISK FACTORS OTTMR THAN PESTICIDES
                               Numerous factors other than pesticide use are known or suspected to contribute
                            to the development of various diseases and health impairments under study in AHS.
                            These factors are important because they may confound (exaggerate or attenuate)
                            the effects of pesticides, they may interact with the effects of pesticides, or they may
                            prove to be of much greater quantitative importance than pesticides even if they are
                            not confounders or interacting variables.

                            Confoirnding Variables
                                In epidemiologic analysis , a confounding variable is a risk factor for the disease
                            of interest that is associated with the exposure of interest (in this case , pesticides).
                            For example, in an analysis to determine whether frequent application of a particu-
                            lar pesticide is a risk factor for a particular type of skin cancer, exposure to sunlight
                            is a potentially confounding (or interacting) variable . The ultraviolet radiation from
                            exposure to sunlight is known to be a cause of skin cancer and farmers who engage
                            in frequent application of pesticides may have more exposure to the sun than other
                            farmers. If exposure torsunlight is a confounding variable and is omitted from the
                            epidemiologic analysis, the estimated risks associated with pesticide exposure will be
                            biased. This bias can be reduced or eliminated by collecting information on the
                            confounder and including such information in a multivariate analysis of the disease
                            in question.
                                Concern about possible confounding may arise if certain patterns of pesticide
                            misuse (e.g., failure to use protective equipment) are used a& a surrogate for
                            pesticide exposure without consideration of the farmer's lifestyle. Farmers who do
                            not use protective equipment ( or engage in risky application practices) may be
                             more likely to engage in a wide range of risky behaviors at work and at home than
                             farmers who use protective equipment (or engage in low-risk application practices).
                             Some of those risky personal actions may be linked to the health outcomes under
                             study.
                                The AHS collects data on numerous variables that might confound the relation-
                             ship between pesticide use/exposure and disease outcomes. Yet we know of no
                             effort to identify such confounding variables and include them in the, AHS study
                             plans. Information about some risk factors other than pesticides is being collected
                             in the AHS study ( e.g., aspects of the diets of farmers) but it is not clear whether such
                             variables are correlated with pesticide exposure and are likely to cause the same
                             types of tumors that chemicals may cause . In addition, since these data are collected
                             in the supplemental questionnaires, they are not available -for the entire cohort.

                             Interacting Variables
                                The effects of pesticide exposure on human health may be magnified or attenu-
                             ated by other behavioral and/or environmental factors. For example, it has been


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                                         shown that the risk of lung cancer due to radon exposure among uranium miners
                                         is much larger among smokers than nonsmokers (Hornung, Deddens, and Roscoe,
                                         1995). We do not know of any interaction effects to be expected in the AHS data,
                                         but if others know or suspect of such interactions, they should be postulated
                                         explicitly prior to data analysis and then tested rigorously in the statistical analyses.

                                         Other Important Risk Factors
                                            Although pesticide exposures are certainly worthy of study, these exposures are
                                         not necessarily the most biologically plausible determinants of disease in farmers or
                                         farm families and they may not prove to be as quantitatively important as a variety
                                         of risk factors such as smoking, diet, and obesity. Even accepting that chemicals are
                                         a major priority for study, more effort might be devoted to understanding fanner
                                         exposures to such agents as veterinary pharmaceuticals, engine oils, consumer
                                         products, animal viruses, and the crops themselves.
                                            If modified appropriately, the AHS could be used to generate comparative
                                         information that might help farm families develop a sense of perspective about the
                                         relative risks associated with different risk factors in farm life. In order to serve this
                                         function, future surveys of the cohort planned by the AHS investigators need to
                                         devote more attention to risk factors other than pesticides and compare their
                                         relative significance to those of pesticides based on rigorous epidemiologic analysis.
                                         Nevertheless, a significant focus on pesticides is worthwhile.


                                         STUDY DESIGN ISSUES
                                            From a methodological perspective, the AHS employs several different study
                                         designs in various phases of the epidemiologic inquiry. They include a prospective
                                         cohort design, a nested case-control design, and a cross-sectional design. These
                                         different study designs have inherent strengths and weaknesses that need to be
                                         understood when the findings of the study are interpreted and compared to the
                                         findings of other investigators.

                                         Prospective Cohort Study
                                             A typical prospective cohort study follows subjects from the time of enrollment
                                          in a study until a particular disease is diagnosed or some other event occurs and/
                                          or death. The subjects' frequency and/or degree of exposure to the chemical or
                                          physical agents of interest are typically documented at the time of enrollment and
                                          throughout the follow-up-period. An advantage of this study design is that exposure
                                          determinations are made by the investigators before anyone (including the investi-
                                          gators and the subjects) knows which subjects will develop a particular disease or die
                                          prematurely. A disadvantage of the prospective design is that accurate measurement
                                          of exposure to pesticides and other disease determinants requires that the cohort
                                          be questioned or monitored at intervals during the study. period, not just at the
                                          beginning. For cancers diagnosed during the first 5 years of study, the exposure
                                          assessment in the cohort study is based on recollections of pesticide use patterns
                                          from.years or even decades ago:




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                                Determining exposure status prior to knowledge of health outcome is particu-
                             larly critical in the epidemiology of pesticides. Previous findings in the literature,
                             which were based primarily on the case-control design, have been criticized on the
                             grounds that those farmers who developed disease (or their next of kin) may have
                             been motivated (for a variety of reasons) toward more complete and accurate
                             reporting of pesticide use and/or exposure than those farmers who did not develop
                             the diseases of interest (Ibrahim etal., 1991). If such differential misclassification of
                             exposure occurs, it will tend to create a spurious positive association between
                             exposure and disease. The prospective cohort design selected by the AHS investiga-
                             tors reduces, but does not eliminate, the chances that bias from differential expo-
                             sure misclassification will occur because use and exposure are determined prior to
                             knowledge of health outcome. It is critical that follow-up surveys of the cohort be
                             administered on a regular basis to document how exposure and disease states
                             change as subjects age.
                                 The major disadvantage of the prospective cohort design is that, for some chronic
                             illnesses, it takes a long time for sufficient numbers of subjects to fall ill or for the
                             data to be useful for analysis. It is also an inefficient approach to studying relatively
                             rare tumors such as soft-tissue sarcoma and leukemia. Overall, though, we are very
                             enthusiastic about the decision of the AHS team to invest in the prospective cohort
                             design and encourage the investigators to make every feasible effort to achieve
                             acceptable response rates in the follow-up surveys of the cohort and address poten-
                             tial biases in the study.

                             Nested Case-Control Study
                                A typical case-control study will enroll "cases" who are known to have the disease
                             in question and compare them to a random subset of "controls" who do not have
                             the disease in question. If cases and controls are both selected from subjects
                             enrolled in a particular cohort study, the study is referred to as a "nested" case-
                             control study. The strength of this design is that the cases are included in the cohort
                             studied. If exposures to a particular agent cause the disease in question, then the life
                             histories of the cases should exhibit different (and presumably greater) exposures
                             than the life histories of controls. Exposures to the agents of interest are typically
                             assessed retrospectively for cases and controls (i.e.. after the death has occurred or
                             the disease determination has been made), sometimes via interviews with next of kin
                             or through reconstruction ofjob histories and practices. Like the prospective study,
                             the nested case-control aspect of the AHS would be constrained by the time to
                             development of disease and the numbers of persons in the cohort. We do not discuss
                             this design in detail here, because it is currently being given low priority in the AHS
                             and its strengths and weaknesses have been addressed elsewhere (e.g., Monson
                              1990).

                              The Cross-Sectional Design
                                 A typical cross-sectional study collects information on exposure and disease
                              simultaneously from a sample of subjects. The association between reported expo-
                              sure and disease is then investigated within the sample. If exposure causes disease,




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                                         it is anticipated that subjects that report more exposure will be more likely to report
                                         the health outcome of interest. A major weakness in the cross-sectional approach is
                                         the potential for bias. When exposure and disease data are gathered at the same
                                         time, it may also be unknown whether the temporality is correct, that is, that the
                                         exposure to the presumed cause actually preceded the disease, especially with
                                         diseases with no easily identified time of onset. There may be bias if persons change
                                         exposure status because of disease (e.g., people with disease may stop working with
                                         pesticides). Although this research design has some utility for generating hypoth-
                                         eses, it is not considered useful in defining most cause-effect relationships. There
                                         are also concerns about the quality of the data gathered for the AHS cross-sectional
                                         studies. Without medical verification of self-reported disease, any associations found
                                         in the cross-sectional studies will be a weak basis for planning future studies.


                                         DATA ANALYSIS PLANS
                                              While the AHS study team presumably has some well-defined primary hypoth-
                                          eses, they are not specified in the Environmental Health Perspectives article (Alavanja
                                         et al., 1996) or in the more detailed study plans that have been made available to
                                          the public. By well-defined primary hypotheses, we refer to a priori hypotheses
                                         regarding specific chemicals, specific tumor types or health outcomes, and specific
                                         surrogate measures of exposure. Specific hypotheses and detailed plans for analysis
                                         help focus the gathering of data on both exposure and disease outcomes. They may
                                         also help investigators to avoid overinterpretation of the random oddities that occur
                                         in any large and complex data set.
                                             Given the many possible comparisons of pesticides, methods of use, work prac-
                                         tices, and health outcomes, a formal statement of why a particular pesticide/
                                         outcome combination should be analyzed seems desirable. Without any
                                         precommitment to specific hypotheses, the proper interpretation of any associa-
                                         tions that are found will be less clear. Although it is appropriate for the AHS team
                                         to explore many possibilities when the data are analyzed, it should be clear to
                                         readers and decision makers which results confirm prior evidence or concerns and
                                         which are found only in the AHS data.
                                             The large amount of questionnaire data developed by the AHS provides rich
                                         scientific opportunities but also particular challenges for analysis and interpreta-
                                         tion. For example, information is gathered from respondents on numerous health
                                         outcomes (approximately 25 outcomes in the private applicator enrollment ques-
                                         tionnaire, 70 outcomes in the farmer applicator and spouse questionnaires, and 35
                                         outcomes in the female and family health questionnaire - a total of 130). For
                                         cancer, there will be numerous tumor types available for analysis from registry data.
                                         In addition to numerous health outcomes, information is gathered on numerous
                                         pesticide products (approximately 50 in the enrollment questionnaire and another
                                         100 in the farmer applicator questionnaire). For exposure (dose)-response analysis,
                                         it appears that- more than 35 different surrogates of exposure can be constructed
                                         from the responses to the questions about pesticide use, application methods and




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                             work practices (e.g., average days of use per year, number of products used, years of
                             use, different types of protective equipment and methods of application).
                                 One can confidently predict that some of the multitude of exposure-response
                             combinations will be statistically significant in the absence of any real effect.
                             Without clearly stated a priori hypotheses, the investigators will have to exercise
                             considerable discretion in data analysis and may exercise insufficient or excessive
                             caution in their interpretation. The exercise of this discretion can be evaluated by
                             the scientific community only if a small number of completely specified primary
                             hypotheses are developed prior to any inspection of results. "Completely speci-
                             fied" means that the method of analysis must be given in detail for each primary
                             hypothesis. The benefit of this approach is the increase in plausibility of any
                             "positive" findings among the primary hypotheses; the cost is that all other hypoth-
                             eses lose some support, though some may still be compelling and others may be
                             examined in subsequent studies.
                                 Important questions arise about the role of conventional measures of statistical
                             significance in the reporting and interpretation of results. Should numerical adjust-
                             ments be made to published p-values to account for multiple comparisons? Given
                             that many possible associations may be explored prior to publication of final results,
                             what degree of documentation should be provided by the investigators of explor-
                             atory analyses? If the documentation requirements are minimal, how will the scien-
                             tific community understand the importance of the associations that are reported?
                             The importance that may be placed on findings of no association between a specific
                             pesticide and health outcomes raises the question of the reporting requirements for
                             analyses that failed to find an association . Parallel consideration must be given to
                             reporting requirements for "inverse" associations (e.g., relative risks less than 1.0 for
                             a particular exposure). At the same time, it would be helpful if the AHS investigators
                             would publish all data and analytical results in some accessible format. Key findings
                             would especially benefit from documentation of their consistency within the AHS
                             database . Widely accessible electronic media such as the World Wide Web makes
                              this feasible.
                                 A detailed analysis plan and careful interpretation can reduce or eliminate these
                              concerns. Examination of internal consistency can provide information about the
                              plausibility of a particular association. A reasonably consistent dose-response gradi-
                              ent is an important criterion. One implication of this criterion is that statistically
                              significant dose-response trends caused primarily by one dose group, especially if it
                              is an intermediate dose group, should be interpreted cautiously. On the exposure
                              side, a finding that the strength of an association increases with particular use
                              practices that are expected to yield higher exposures (and decreases with increasing
                              farmer care), could be valuable evidence in buttressing study results. Sensitivity
                              analyses involving different exposure surrogates and exposure groupings can also
                              demonstrate whether findings are robust.
                                 A key form of evidence to inform hypotheses and corroborate (or refute) analytic
                              findings is biological plausibility. Pesticides, in addition to prescription drugs, are
                              among the most thoroughly studied of all chemicals from a toxicologic perspective.
                              Pesticides are diverse in mode of action and in excipients, raising doubts about
                              attempts to group pesticides for analysis except under very specific conditions (e.g.,




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                                         examining insecticides with similar mechanisms of toxic action and with similar
                                         excipients). In the interpretation of epidemiologic results, dose considerations
                                         from toxicology can play an important role in determining the plausibility of the
                                         response. Associations with exposures far below those causing effects in animals may
                                         be less credible than those demonstrated at higher exposure levels. The nature and
                                         limited amount of exposure information in the AHS makes this important use of
                                         toxicology difficult. More generally, toxicological reasoning has not yet played a
                                         significant role in the design or execution of the AHS but should be an important
                                         part of a detailed plan of analysis.



                                         S            Y OF RESEARCH RECCIABEENDATIONS
                                            The AHS is a major undertaking with the potential to add significantly to our
                                         knowledge of possible associations between pesticide use and other factors and
                                         the health of farmers. The weight that will be accorded to results from this major
                                         study requires care in assuring the accuracy of the findings. Several of the most
                                         important limitations of the AHS could be addressed through additional research
                                         with the cohort or through complementary studies on different groups. The
                                         priorities should be to (1) assess the validity of self-reported health outcomes; (2)
                                         explore the reliability and validity of pesticide use data; (3) understand the
                                         relationship between exposure surrogates and exposure; (4) examine the biologi-
                                         cal plausibility of any hypotheses; and (5) develop explicitness on analysis and
                                         statistical issues.

                                         Assessing the Validity of Self-Reported Health Outcomes
                                            Many of the early analyses from the AHS will be based on self-reported health
                                         data. The validity of these data is crucial to interpretation of the results. There are
                                         studies in the literature that raise serious questions about self-reports of disease
                                         (Harlow and Linet, 1989; Paganini-Hill and Chao, 1993; Kehoe et al., 1994; The
                                         Italian Longitudinal Study on Aging Working Group, 1997). Clinical verification of
                                         key self-reported health outcomes, where feasible, is essential. It is important that
                                         validity be assessed for both those members of the cohort reporting disease and
                                         those. who claim none. These studies could also help address some concerns about
                                         recall bias in the noncancer studies as well as concerns about whether the disease
                                         was indeed preceded by exposure.

                                         Exploring the Reliability and Validity of Pesticide Use Data
                                            Since pesticide use data will be the basis for categorizing potential pesticide
                                         exposure in the AHS, the validity of these data is also critical. A simple and pertinent
                                         step would be to readminister the questionnaire to a sample of respondents to see
                                         how much the answers change. Other, studies to validate reported pesticide use, for
                                         example, by comparison with purchase records, are also essential. A relatively simple'
                                         check would consist of questions about number of acres for each specific crop for
                                         which a specific pesticide was used. This would allow comparison to label instruc-




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                           tions or Extension Service. recommendations to help gauge the validity of use
                           reports. Results of validation studies would suggest the amount of confidence that
                           we could place in the questionnaire data as well as pinpoint ways to enhance the
                           design of follow-up questionnaires. Validation studies will be able to address only
                           relatively recent use since use records from the past are likely to be less complete.
                           Given that many of the pesticides of concern for cancer were used more heavily in
                           the past, and that a substantial period occurs between exposure and detection of
                           disease, there may be significant questions about the validity of self-reported pesti-
                           cide use in earlier years.

                            Understanding the Relationship between Exposure Surrogates and Exposure
                               Complementary studies are needed to assess the accuracy of the assumptions in
                            the AHS that link specific use patterns and work practices with different levels of
                            exposure. Biomonitoring studies could provide critical information to link pesticide
                            use information to actual exposure by measuring pesticide levels in the blood or
                            urine. Biomonitoring studies to correlate farmer exposure and dose to pesticide use
                            patterns and work practices would be extraordinarily valuable in linking chemical
                            use data to exposure categories. Similarly, biomonitoring studies of spouses and
                            children of farmers could help determine whether conditions of pesticide use are
                            associated with family exposures that are frequent enough and high enough to lead
                            to possible adverse effects. This effort would help focus attention and resources on
                            the most critical of possible adverse effects.

                            Assessing the Biological Plausibility of Any Associations
                               A key research need is the careful enumeration, in advance of analysis, of the
                            biological effects expected at relevant doses for specific pesticides. This undertaking
                            will help avoid the criticism that identified associations are supported only by
                            toxicologic explanations that are post hoc and hence unreliable. This effort should
                            rely on both the existing epidemiologic literature and the immense toxicologic
                            database on pesticide products. Dose-response information must play a key role.
                            Identification of chemicals expected to be capable of affecting health at anticipated
                            exposures can corroborate findings and help focus analysis efforts.

                            Analysis and Statistical Issues
                                It is critical that a detailed analysis plan for the AHS be developed. Specifics to
                             be addressed should start with a small number of precise hypotheses about pesti-
                             cide/disease relationships, including in detail the analytic method. Potential con-
                             founders, interacting variables, and other risk factors should be identified in a
                             systematic way, where possible, with a focus on causation of specific diseases. There
                             is a need to specify an analytic framework, including specific statistical procedures,
                             that encompasses decision rules for analysis and reporting.
                                The general study plan of the AHS is not yet detailed enough to support a
                             confident evaluation of the technical strengths and'weaknesses of this major under-
                             taking, and we recommend substantial efforts toward developing such a plan. The
                             level of effort and detail we are suggesting here would be typical of a major




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                                          investigator-initiated proposal that is peer reviewed and judged to be worthy of
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                                          Protection Association.



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